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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



  CENTER FOR BIOLOGICAL
  DIVERSITY, et al.,

           Plaintiffs,                                CASE NO. 1:21-cv-00119 (RDM)

           v.

  U.S. ENVIRONMENTAL
  PROTECTION AGENCY, et al.,

           Defendants.



  UNOPPOSED MOTION TO MODIFY ADMINISTRATIVE RECORD DEADLINES

       Plaintiffs, by and through undersigned counsel, respectfully move the Court for a

modification of the remaining administrative record deadlines set by the Court’s July 27, 2022,

minute entry order (Dkt. 91). This modification is necessitated to allow the parties one

additional week to work to resolve record issues before the deadline to file motions challenging

the adequacy of the record. Plaintiffs have conferred with counsel for the Federal Defendants

and Florida who advise that they consent to this request and the deadlines specified below.

       Plaintiffs therefore respectfully request that the schedule be modified as follows:

       •    Plaintiffs/Intervenors file any motions challenging adequacy of the record(s) by

            10/14/2022;

       •    Federal Defendants’ file their response to any motion by 11/14/2022; and

       •    Plaintiffs’/Intervenors’ file replies by 11/21/2022.

       As the Court has scheduled a hearing on this matter for November 22, 2022 (Dkt. 91),

Plaintiffs submit that the requested extension should not delay the proceeding. If the Court


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prefers to reschedule the hearing, Plaintiffs request for it to be rescheduled subject to the Court’s

availability on November 28, November 29, or November 30, 2022. Plaintiffs therefore

respectfully request that the motion be granted.

Dated: October 5, 2022

                                                       Respectfully submitted,


                                                       /s/ Tania Galloni
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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 5th day of October 2022, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                    Respectfully submitted,

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